                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   AT CHATTANOOGA

 UNITED STATES OF AMERICA                           )
                                                    )       Case No. 1:10-cr-110
 vs.                                                )
                                                    )
 MARY REVELS                                        )       JUDGE COLLIER/CARTER

                                MEMORANDUM AND ORDER

        The defendant appeared for a hearing before the undersigned on November 1, 2010, in
 accordance with Rule 46(c) of the Federal Rules of Criminal Procedure and 18 U.S.C. §§ 3143 and
 3148 on the Petition for Action on Conditions of Pretrial Release. Those present for the hearing
 included:

               (1) AUSA Steve Neff for the USA.
               (2) The defendant, Mary Revels.
               (3) Attorney Marty Levitt for defendant.
               (4) U.S. Probation Officer Mike Stuart.
               (5) Courtroom Deputy Kelli Jones.

        The defendant was advised of the allegations contained in the Petition for Action on
 Conditions of Pretrial Release.

         The Petition for Action on Conditions of Pretrial Release alleges the defendant may have
 violated the conditions of her release by her being terminated from the OASIS program on October
 27, 2010. The Court finds defendant violated her conditions of release but will allow continued
 bond as set out in the Modified Conditions of Release. The Court will therefore DISMISS the
 Petition for Action on Conditions of Pretrial Release and allow the defendant to remain on bond.

        SO ORDERED.

        ENTER.

                                             s/William B. Mitchell Carter
                                             UNITED STATES MAGISTRATE JUDGE




Case 1:10-cr-00110-CLC-CHS          Document 163        Filed 11/03/10    Page 1 of 1     PageID
                                          #: 292
